Case 1:19-cv-08694-VM Document

In the United Stat
for the Southern Di

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43 Filed 11/19/19 Page1of8.

es District Court
strict of New York

 

Donald J. Trump, Plaintiff
VS.

CYRUS R. VANCE, JR., in his official cap

as District Attorney, County of New York nd:
apacity |

SOLOMON SHINEROCK, in his official ¢
Asst. District Attorney, County of N

and MAZARS USA, LLP
Defendants

 

3270 Stoney Ridge Rd. Eugene, OR97405 541
www.RisePatriot.com www.WellsFargoWitz.c

 

ew York

1510-3915 96) sasutnteetAWG onal do om
Solution: swww.TheEugeneBlairProject. com -

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2™1 Amicus Curiae Briefing of Andrew Clark

Oo
in Favor of rie

ald J. Trump

Usually-Sketchy Humans Called “Attorneys” Act as God Using Court Software

I noticed this case was being continu
October 14, 2019. This is to tighten th
indicating it is one part of a definabl
Presidency. MAZARS: you need to inte

government access to client records wit

Cyrus Vance Jr., Solomon Shinerock, a

al are so political it stinks. The 75 page

ed despite my Amicus Curiae dated
> screws on this “Court” proceeding by
2 effort to negate and overthrow the
rvene for your Client. If you allow the

hout fighting it you won't have clients.

nd Figurehead Judge Victor Marrero et

‘robo-order” has no actual relationship —

to tax returns. It is a computer-compilation of past cases. We are required to

have faith in it or face physical punishmé¢

Justice Ruth Bader-Ginsb
But first take a look at very brie

They are in cynical co

Identifiable groups of attorneys abuse ca
anyone they want to...even a President:
are virtually unedited and allow unseen <
without facts, evidence, or court heari

November 12, 2019 Case No. 18 cv 8694-VM Trump v. Vance et al

mt. It is just another form of holocaust.

= To the Rescue! (page 5}
Pp

F biographies of the above people.

tempt of the Court.
urt systems to distract, arrest, or smear
They do it because the court systems
ourt clerks to perpetrate most anything
ngs. They do it for kicks and money.

Amicus Curiae Page 1 of 6

 
Case 1:19-cv-08694-VM Document 43 Filed 11/19/19 Page 2 of 8

In the United States District Court
for the Southern District of New York

 

Donald J."
VS.

CYRUS R.
as District
SOLOMO}D
Asst. Distr
and MAZA

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Arlington, V|
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San Francis¢

Signed

November 1

frump, Plaintiff

No. 18 cv 8694-VM
VANCE, JR., in his official capacity |
Attorney, County of New York and;

N SHINEROCK, in his official capacity
ict Attorney, County of New York

RS USA, LLP

Defendants

New Nee eee ee a ee a

Second Amicus Curiae Briefing of Andrew Clark
in Favor of Donald J. Trump

Certificate of Service

ed U.S. First Class Mail 11.12..2019 to serve this filing to:
led for filing to Court Clerk United States District Court for the Southern District
500 Pear! Street New York, New York 10007

H as a crime report to Director of Secret Service Agency 245 Murray Ln SW -

Washington, DC 20223 and Attorney General at U.S. Department of Justice

 

Vania Avenue, NW Washington, DC 20530-0001 due to the banking system

my personal case and massive inadequacy and fraud in court systems.

d to Donald J. Trump c/o 1600 Pennsylvania Ave NW, Washington, DC 20500
d to William S. Consovoy Consovoy & McCarthy 1600 Wilson Blvd., Ste. 700
A 22209

H to Alan S. Futerfas Law Offices565 Fifth Ave., 7th Floor New York, NY 10017
d to Cyrus Vance, Jr. One Hogan Place New York, NY 10013

d to MAZARS 135 W 50th St, New York, NY 10020

d to Board Communications, Wells Fargo and Company P.O. Box 63710

to, CA 94163

(KI Cc Andrew Clark 3270 Stoney Ridge Rd Eugene OR 97405

b, 2019

 

 
Case 1:19-cv-08694-VM Document

Mirriam-Webster Definition of Coup d'état -;
esp. the violent overthrow or alteration 0

A Very Brief Biography of Cyrus
(Google to see his gold-plated but

Vance grew up in New York City. He is the so
who served as Secretary of the Army under p
Johnson and Deputy Secretary of Defense und
State to President Jimmy Carter. Vance atten
and then went on to graduate from Yale Unive
Georgetown University Law Center in 1982. Wk
for Colorado Senator Gary Hart.

Figurehead J udge Victor Marrero:

:

~
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A sudden decisive exercise of force in politics,
fan existing government by a small group

Vance Jr. Exudes Naked Politics
uninspiring job and life history)

of Grace Elsie (Sloane) and Cyrus Vance Sr.,
sidents John F. Kennedy and Lyndon B.

er President Johnson, then Secretary of

ded the Buckley School and Groton School,
rsity. He then earned his Juris Doctor from
ile in law school, he planned campaign trips:

78 years as a Token Puerto Rican

(opinion based on job-hopping history prior to becoming a Figurehead Judge)

Marrero was born in Santurce, San Juan, Puert

Arts degree from New York University in 1964
Law School in 1968. He was an assistant to the

He was an_assistant administrator/ neighborhe

Administration in New York City from 1970 to

Rican Legal Defense and Education Fund in 1972

Department of City Planning of New York City
to the comptroller of New York City from 1974

to the governor of the State of New York, fror
City Planning Commission of New York City fre

Vice Chairman of the New York State Housing
the Undersecretary of the United States Depa

from 1979. to:1981. He was in private practice of
served as United States Ambassador to the Ecc

Nations from 1993 to 1997. He was the US Amb
the United States to the Organization of Amer

Editorial: No industry allows its leader
Circuit is 90. Per ABA Judicial Canons th

ensure human and automated processes

o Rico in 1941. He received a Bachelor of

He received a Bachelor of Laws from Yale
mayor of New York City from 1968 to 1970.
od director of the Model Cities

973. He was a co-founder of the Puerto

. He was the Executive Director of the
from 1973 to 1974. He was a special counsel
to 1975. He was the first assistant counsel
Nn 1975 to 1976. He was the Chairman of the
m 1976 to 1977. He was a Commissioner and
Finance Agency from 1978 to 1979. He was
rtment of Housing and Urban Development |
law in New York City from 1981 to 1993. He
nomic and Social Council of the United
assador and Permanent Representative of
can States from 1998 to1999.

s to be so old. Judge Wallace of 9
ley are required to supervise staff to
comport to facts and evidence. Most

of them are out playing politics or screwing around in one way and another.

November 12, 2019 Case No. 18 cv 8694-VM Trump v. Vance et al

Amicus Curiae Page 2 of 6

 
Solomon
world life 4
across a ca

 

Case 1:19-cv-08694-VM Document 43 Filed 11/19/19 Page 4of 8

Shinerock: His education, qualifications, and experience in real-
ppear minimal per my interpretation Google searches. I stumbled

se (next page), all indications are it’s the same Solomon Shinerock .

My mother’s rather non-religious family were considered Russian Jews and came through

Ellis Islana
u

My mother
youngest
with an el
prosecutor
as me (h

The “Toral

television

r

n Bells” situation may be amusing in the spirit of the animated

1in 1926. They, like most, were eager to exchange past labels for their luggage
vhich was returned to them as a final step in the immigration process.

still with us, was born in Far Rockaway NY in 1932. My father is currently the

still surviving POW of WW-2 at 93. They bailed me out and watched me fitted
ectronic ankle monitor...all the result of fraud of local justice systems by an ex- |
who still has not been placed in prison. He still collects a paycheck from the State

victim) is ghettoized among the dead and dying victims of Wells Fargo et al.

show “Southpark” which shamelessly pokes fun at stereotypes:

1) Two competing synagogues with similar names have been using the courts,

including

or another

this one, to litigate each other over religious objects that in some sense

have been in dispute for well over a century now.

2) Plaintiff is represented by two men with names “Solomon”.

Most people could at least see the possible irony; many would likely find it

amusing.
facts and

involved.

It also speaks volumes about why our civil courts have no time for
evidence. The next page shows the case number and all the attorneys

It may hint of the questionable standing and legal abilities of Solomon

B. Shinerock and this Court as it relates to prosecuting Citizen and President

Trump ov

would h

November

 

er his professionally-prepared private financial documents. Solomon

ave cut this baby in half, instead it was deferred to Rhode Island.

12,2019 Case No. 18 cv 8694-VM Trumpy. Vance etal Amicus Curiae Page 3 of6
 

 

Ll

Case Number: 12 Civ. 8406 Judge: District Ju
Summary: Action Over Torah Bells’ Ownership I
island Lawsuit (with a several page

Date filed: 2014-29-10 11:29:37 U.S. District Co
Attorneys for Plaintiff by: Deming Eliot Shern
Zachary Winthrop Silverman, Esq., Attorneys Fd
and New York, NY. Attorneys for Plaintiff b
Shinerock, Esq., Cadwalader, Wickersham & T
Defendant by: Gary P. Naftalis, Esq. Jonathan N
Kramer Levin Naftalis & Frankel LLP, New York,
Earle Snow, Esq., Partridge Snow

Statement of Standing a
My personal case shows how attorneys any,
arrest. I see the exact same tactics being us
situation in a society bound by the law is ki
as it is used selectively in order to paint a

take it from there. In my case it was used

Case 1:19-cv-08694-VM Document 4

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dge Miriam Goldman Cedarbaum
Dismissed In Favor of First-Filed Rhode

rt, Southern District Court of New York
an, Esq., Anthony Joseph Viola, Esq.,
wards Wildman Palmer LLP, Rhode Island
): Louis M. Solomon, Esq., Solomon B

aft LLP New York, NY.; Attorneys for
ark Wagner, Esq. Tobias B. Jacoby, Esq.,
NY. Attorneys for Defendant by: Steven
& Hahn LLP, Rhode Island

sa signed by a ‘judge’.) |

nd Legal Imperative
where can and do arrange false
ed against national leaders. That

own as “the ‘structure of holocaust”

s employment retaliation.

em as a criminal and the systems

 

Wells Fargo’s Attorneys Use Te

False Arrest = “SWATTING?” = criminal violatio
Meet me in a SWAT Car. Hear polis
www.RisePatriot.com / WwW!

WELLS FARGO EMPLOYMENT RETALIATI¢
TAMPERING WITH A FED

 

Ogletree Deakins Employment La
carpetbaggers with legal AIDS.
arrest and system manipulation in Maric

Articles linked here: www.Rise!
Corporate Doom: Just as in the ‘Sheri
to me by tricking or coercing a local ex-P
identical communication stalking charge

restraining order, hearing, or grand jury

re

xtbook Mafia Kidnapping: :
n of 18 USC 1201. Itis aclassic ‘mob’ trick.
se in my home and in their HQ.

ww.WellsFargoWitz.com

)N AGAINST LOWEST-LEVEL WORKER.

EERAL WITNESS (ME).

is a national firm of fee-gouging

hey have a shocking history bf false

opa County AZ in the “Sheriff Joe”case.

Patriot.com/theybbad.pdf .
ff Joe’ case, Ogletree Deakins did it

osecutor to fraudulently input 10

s in favor of a corporation and without a

That caused a local system to

November 12, 2019 Case No. 18 cv 8694-VM Trape v. Vance etal Amicus Curiae Page 4 of 6

 
 

 

Case 1:19-cv-08694-VM Document 43 Filed 11/19/19 Page 6 of 8 “~

7d

administer massive punishment with no trial or hearing. Problem? I had already

been admitted to local FBI to deliver evidence and by definition am a Federal

Witness

 

 

and they Tampered. Wells Fargo: fix this mess. Please call me today to

talk Progress at 541.510.3915 . Don’t be afraid. A solution metaphor is at hand:

|

L

Now is 4

and each

www. TheEugeneBlairProject.com.

Justice Ruth Bader-Ginsberg To the Rescue!
_ | Yates vs. United States, 2015, Ginsberg’s Most Landmark Case

great time for the legal industry to recognize how it affects each case

attorney. In my case, it directly applies to the attorneys, court clerks

and judges who allowed my official evidence including police a/v and records to

be obstructed via fraudulent use of official court systems despite my repeated
and endless motions against such activity. They are all very GUILTY of a major
crime and require federal prosecution. Yates appears to permit such a

prosecution without a necessary penalty but FBI will make that choice.

 

Meanwhile as it relates to subject case: This Court should dismiss the case given

the Rule of Lenity, which is used to underpin Yates. It is defined as follows:

The rul
statutory |

Yates v. U
felony 18 {

> of lenity (also called the rule of strict construction) is a principle of criminal

nterpretation that requires a court to apply any unclear or ambiguous law in the
manner most favorable to the defendant.

S involved a fishing boat captain who was charged with a federal

JS Code 1519 which was meant to be used against financial executives

pursuant to the Sarbanes-Oxley anti-shredding legislation born of Enron. The

criminal offense was used against large numbers of citizens in other industries.

 

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It was never used against any executive or member of the financial industry as

was intended.

One of his crew destroyed 3 (three) unders

ized fish and Captain Yates was

charged with violating 18 USC 1519. That gave rise to years of legal battles and

finally made its way to the Supreme Court.

In early 2015 a Court sharply divided

along political lines published an opinion which at first may appear limited in

scope as it defines a ‘tangible object’. But
opinion is so far-reaching that it could be z

in any court in America.

the reasoning that supported the

pplied.to almost all subsequent cases

Now the wisdom and genius buried in that case can be fully appreciated and put

into action; I feel people of all politics wou
is all about malicious prosecution and ove
resulting in only punishment and fear. It
Dr. Suess (one fish, two fish) and I assert |
Attorney Industry to make their activity le
USC 1519 is most easily applied to COUR’
misuse legal systems for personal or politi

It is an obvious false pretense.

ld understand it better now. The case
r-prosecution of too many laws

was a case in which a Justice quoted
t is a thinly veiled warning to the

ss coercive and contrived and that 18
‘WORKERS and ATTORNEYS who

cal gain. Dismiss this case right now.

The oft-repeated Milgram Experiment shows again and again that hunjans have

no limit to the pain they will inflict using human and automated ‘systems’. Such

is our “justice system” as we move into t

Signed: Cn C >

Se

Andrew Clark 3270 Stoney Ridge Rd. Euger
OperationSunriseLAW @gmail.com www.Rise

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November 12, 2019

e OR 97405 541.510.3915
atriot.com www.WellsFargoWitz.com

www.TheEugeneBlairProject.com www.DoggyMcStyleLAW.com

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Amicus Curiae Page 6 of 6

 
 

 

Case 1:19-cv-08694-VM Document 43 Filed 11/19/19 Page 8 of 8 . S

 

 

 

 

 

 
 

 

A. Clark
3270 Stoney Ridge Rd.

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